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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Joseph G. Rosania, Jr.


  In re:
                                              Bankruptcy Case No. 23-13858-JGR
  Sandra Rosemary Oldenburg and
  Lee Michael Oldenburg,                      Chapter 13

  Debtor(s).

                 ORDER AND NOTICE OF RESCHEDULED TELEPHONIC
                    CHAPTER 13 PLAN CONFIRMATION HEARING

       THIS MATTER comes before the Court sua sponte. A conflict has arisen in
scheduling of the Court’s docket, and it is necessary to reschedule the plan confirmation
hearing presently scheduled for Thursday, April 4, 2024 at 10:00 a.m., Courtroom B. It is,
therefore,

       ORDERED that the telephonic hearing on confirmation currently scheduled for April
4, 2024 at 10:00 a.m. is VACATED and RESCHEDULED to Thursday, April 18, 2024 at
10:00 a.m., Courtroom B, U.S. Bankruptcy Court, 721 19th Street, Denver, Colorado
80202-2508. Counsel/parties shall appear by telephone at the continued hearing. The
following instructions are provided for appearing by telephone and connecting to the
conference call line:

       Please dial 833-435-1820 US Toll-free or 833-568-8864 US Toll-free, a few
       minutes prior to commencement of the hearing and then enter the Meeting ID:
       161 324 5580.

Failure to connect to the conference in a timely manner may preclude your participation in
the hearing. If you are unable to connect after following the instructions provided, please
call 720-904-7300 and leave a name and the telephone number where you can be reached
and the Court will return the call.

           Dated: April 2, 2024
                                                 BY THE COURT:


                                                 Joseph G. Rosania, Jr.,
                                                 United States Bankruptcy Judge
